          Case 1:19-cv-11710-KPF Document 254 Filed 07/02/24 Page 1 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

SANMINA CORPORATION,

                            Plaintiff,

                     -v.-

DIALIGHT PLC,
                                                   19 Civ. 11710 (KPF)
                            Defendant.
                                                         ORDER
DIALIGHT PLC,

                            Plaintiff,             19 Civ. 11712 (KPF)
                     -v.-

SANMINA CORPORATION,

                            Defendant.


KATHERINE POLK FAILLA, District Judge:

      For the reasons stated on the record during the July 2, 2024 pre-trial

conference, and in accordance with the restrictions set forth therein, the Court

hereby:

      GRANTS IN PART and DENIES IN PART Dialight’s Motion in Limine No. 1

to exclude the report and testimony of Sanmina’s experts Dawn Hall and Drew

Mooney (Dkt. #148 (19-cv-11710), 121 (19-cv-11712)). The Clerk of Court is

directed to terminate the pending motions at docket entry 148 in Case No. 19

Civ. 11710 and docket entry 121 in Case No. 19 Civ. 11712.

      GRANTS IN PART and DENIES IN PART Dialight’s Motion in Limine No. 2

to exclude the report and testimony of Sanmina’s expert Laird Burns (Dkt.

#151 (19-cv-11710), 124 (19-cv-11712)). The Clerk of Court is directed to
         Case 1:19-cv-11710-KPF Document 254 Filed 07/02/24 Page 2 of 4




terminate the pending motions at docket entry 151 in Case No. 19 Civ. 11710

and docket entry 124 in Case No. 19 Civ. 11712.

      DENIES Sanmina’s Motion in Limine No. 1 to exclude or limit the “lost

profits” testimony of Dialight’s damages expert, Dr. Andrew Hildreth (Dkt. #155

(19-cv-11710), 127 (19-cv-11712)). The Clerk of Court is directed to terminate

the pending motions at docket entry 155 in Case No. 19 Civ. 11710 and docket

entry 127 in Case No. 19 Civ. 11712.

      GRANTS IN PART and DENIES IN PART Sanmina’s Motion in Limine No. 2

to exclude or limit the “claimed costs” testimony of Dialight’s damages expert,

Dr. Andrew Hildreth (Dkt. #158 (19-cv-11710), 130 (19-cv-11712)). The Clerk

of Court is directed to terminate the pending motions at docket entry 158 in

Case No. 19 Civ. 11710 and docket entry 130 in Case No. 19 Civ. 11712.

      GRANTS Sanmina’s Motion in Limine No. 3 to exclude or limit the “market

capitalization” testimony of Dialight’s damages expert, Dr. Andrew Hildreth

(Dkt. #161 (19-cv-11710), 133 (19-cv-11712)). The Clerk of Court is directed to

terminate the pending motions at docket entry 161 in Case No. 19 Civ. 11710

and docket entry 133 in Case No. 19 Civ. 11712.

      DENIES Sanmina’s Motion in Limine No. 4 to exclude “claimed costs”

damages not timely disclosed (Dkt. #164 (19-cv-11710), 136 (19-cv-11712)).

The Clerk of Court is directed to terminate the pending motions at docket entry

164 in Case No. 19 Civ. 11710 and docket entry 136 in Case No. 19 Civ.

11712.




                                        2
       Case 1:19-cv-11710-KPF Document 254 Filed 07/02/24 Page 3 of 4




      DENIES Sanmina’s Motion in Limine No. 5 to limit evidence of fraudulent

inducement to the allegations in Dialight’s complaint (Dkt. #167 (19-cv-11710),

139 (19-cv-11712)). The Clerk of Court is directed to terminate the pending

motions at docket entry 167 in Case No. 19 Civ. 11710 and docket entry 139 in

Case No. 19 Civ. 11712.

      DENIES Sanmina’s Motion in Limine No. 6 requesting a hearing pursuant

to Rule 104 of the Federal Rule of Evidence regarding Dialight’s fraudulent

inducement claim (Dkt. #177 (19-cv-11710), 149 (19-cv-11712)). The Clerk of

Court is directed to terminate the pending motions at docket entry 177 in Case

No. 19 Civ. 11710 and docket entry 149 in Case No. 19 Civ. 11712.

      DENIES Sanmina’s Motion in Limine No. 7 to exclude prejudicial evidence

(Dkt. #170 (19-cv-11710), 142 (19-cv-11712)). The Clerk of Court is directed to

terminate the pending motions at docket entry 170 in Case No. 19 Civ. 11710

and docket entry 142 in Case No. 19 Civ. 11712.

      DENIES Sanmina’s Motion in Limine No. 8 to exclude the report and

testimony of Dialight witness Angel Escamilla (Dkt. #173 (19-cv-11710), 145

(19-cv-11712)). The Clerk of Court is directed to terminate the pending

motions at docket entry 173 in Case No. 19 Civ. 11710 and docket entry 145 in

Case No. 19 Civ. 11712.

      Furthermore, the Court GRANTS Sanmina’s request to prohibit Dialight

from pursuing a post-contractual fraud claim and DENIES Sanmina’s request

to prohibit Dialight from presenting “new” damages figures. (See generally Dkt.

#239 (19-cv-11710), 208 (19-cv-11712)). The Court further DENIES Dialight’s


                                        3
         Case 1:19-cv-11710-KPF Document 254 Filed 07/02/24 Page 4 of 4




request to present its case-in-chief first; GRANTS Dialight’s request to prohibit

Sanmina from shielding employees under its control from testifying in

Dialight’s case-in-chief; and DENIES Dialight’s request to preclude Sanmina

from calling Chris Nelson as a witness at trial. (See generally Dkt. #240 (19-cv-

11710), 209 (19-cv-11712)).

      The Clerk of Court is directed to file this Order in both cases cited in the

caption.

      SO ORDERED.

Dated:       July 2, 2024
             New York, New York              __________________________________
                                                  KATHERINE POLK FAILLA
                                                 United States District Judge




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